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 5
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 7
 8
 9                       IN THE UNITED STATES DISTRICT COURT FOR THE
10                                 EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                 )         CR. S-03-0042-FCD
                                               )
13                         Plaintiff,          )         ORDER SETTING A STATUS
                                               )         CONFERENCE FOR 1-26-07 AT
14                                             )         9:30 a.m.
                                               )
15          v.                                 )
                                               )
16   CHARLES WHITE,                            )
                                               )
17                         Defendant.          )
                                               )
18
19                                                 ORDER
20
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that a status conference will be
21
     held on January 26, 2007 at 9:30 a.m.
22
            IT IS SO ORDERED.
23
24   DATED: January 22, 2007
25
26                                           _______________________________________
27                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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